              Case 4:17-cr-00076-MSD-LRL Document 8 Filed 08/30/17 Page 1 of 1 PageID# 14
CR96C^ AO J70 (Rev. 12/03) Order ofTemporar>' Detenllon




                                       United States District Courx
                                                                                                                                " "J or-' ir^r
                    EASTERN                                            District of                                     /IRGINIX"
                                                                                                                          /iUG 3^3 201/
                    UNITED STATES OF AMERICA
                                                                                                                I CLERK, U

                                                                              ORDER OF TEMPORARY DETENTION

                                                                                PENDING HEARING PURSUANT TO

                                     V.                                                     BAIL REFORM ACT



                    Elmer Emmanuel Eychaner III                               Case No.        4:17cr76

                                Defendant




          Upon motion of the _                                                           United Stales

detention hearing is set for                                                       at
                                                       Date                                                       Time

before                                                   United States Magistrate Judge
                                                              Name ofJudicial Officer
                                                              Newport News. Virginia
                                                            Location ofJudicial Officer


Pending (his iiearing, the defendant shall be held in custody by (the United States marshal)


                                                              Other Custodial Official


Date:
                                                                                                                 Judge
     If not held immediately upon defendant's first appcarance, the hearing may be continued for up to three days upon motion of the Government,
or up to five days upon motion of the defendant. 18 U.S.C. § 3142(0(2).
     A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be
asserted only by the iittorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the
Government or upon the judicial officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to
obstruct justice, or threaten, injure, or intimidate, or attempt tu threaten, injure, or intimidate a prospective witness or juror.
